             Case3;53PM
    Jov. 2.2018   6:17-cr-06016-CJS-JWF    Document
                            Federal Public Defender   64 Filed 11/20/18 Page
                                                    - NYW                     1 of 8
                                                                        No. 0664                          2/9

                              Fedebial public Defender's Office
                                     Western district of New York
Marianne Mariano                                                                  BUFFALO Office
FEOSRAL, PUBUC DEFENnER                          28 East Main Street              300 Pearl Street. Suite 200
marlanna_marlano@rcl,org                   First federal Plaza, Suite 400         BUFFALO, NEW York 14202
                                           ROCHESTER, NEW YORK 14614              716-551-3341
                                                                                  716-551-3346-FAX
ANNE M. BURGER
                                                  . 5S&263-6201
SUPERVISORYASSISTANT FtDERAE                                                        EPL-YTO: ROCHESTER
PUBUC Defender                                   FAX: 5S5-263-5S71
anne_burger@fd,org




                                                                                            NOV 02 2018
                                                 November 2,2018


                                                                                   \VesL?„n^®WeJudge
          VIA FAX
                                                                                   "Western OisteOfWeivVortt
          Honorable Jonathan W. Feldman
          United States Magistrate Judge
          U.S. Courthouse
          100 State Sti'eet
          Rochester, NY 14614

                     Re;   United States v, Richard Leon Wilbern, l7-cr-6016-CJS-JMT
                           UnitedStates v. Richard Leon Wilbern, 17-cr-6017-CJS-JWF

          Dear Magistrate Judge Feldman;

                   At oral argument the Court invited the defense to identify additional materials it should
          consider indetermining the defense's Motion to Suppress Statements and DNA Sample, In
          addition tothe video-recorded questioning sessions involving the FBI and the recorded tipline
          calls, the defense encloses printed copies ofsix emails the government has provided indiscovery
          whichthe Court should reviewin the contextof the motion, I believe that these are emails the
          government would describe as communications sent by the defendant to Special Agent Seth
          Fleitman.

                                                               Respectfully submitted.



                                                                         lurger
                                                               Assistant Federal Public Defender
         •End.
          cc: Douglas Gregory, AUSA (viafax w/encl.)
           Case3:53PM
  Nov. 2.2018   6:17-cr-06016-CJS-JWF     Document
                          Federal Publ ic Defender    64 Filed 11/20/18 Page
                                                   - NYW                       2 of 8P. 3/9
                                                                        No. 0664

Fteitman, Seth (BF)(FBI)

Full Name:           Fault Realtor
First Name:          Fault Realtor

Mobile:              +1.(605)455-7951




                                                                    LEAD 1139-300
           Case3:53PM
. Nov. 2.2018   6:17-cr-06016-CJS-JWF      Document
                          Federal Publ ic Defender    64 Filed
                                                   - NYW     . 11/20/18 Page
                                                                        No. 06643 of 8P. 4/9

FleHman, Seth (BF)(FBn
From;                 Rich WilbCTo lrichwilberTi@gmail.com]
Sent:                 Thursday, June 30,2016 5:^5AM
To:                    Fleitman, Seth (BF)(FBI)
Subject:               Fault Realtor
Atmchments:            Fault Realtor.vc^ ATTopopi.txt


This is the contact number for the realtor involved.




                                                        I

                                                                     LEAD 1139 - 301
  Nov. 2. 2018
           Case3:53PM     Federal Publ ic Defender
                6:17-cr-06016-CJS-JWF     Document - NYW • 11/20/18 Page
                                                     64 Filed        No. 0664
                                                                           4 of 8P. 5/9

Fleitman. Seth (BF) (FBI)                                     '
From:                 Rich Wilberh [nchwjibern@gmail.com]
Sent;                 Thursday, June 30,2010 5:51 AM
To:                   Fleitmari, Sefh (BF) (FBI)
Subject;              Fake Owner Of House
Attachments:          Fake Owner OfHouse.vcf; ATT0D001;t;it

This is contact number -For fgke home DMher involved in scdnfs




                                                                  LEAD 1139 - 302
           Case3:54PM
  Nov. 2. 2018  6:17-cr-06016-CJS-JWF     Document
                          Federal Publ ic Defender   64 Filed 11/20/18 Page
                                                   - NYW                      5 of 8P. 6/9
                                                                        No. 0664

Fteitman. Seth (BF)fFBI)
Full Maine:          Fake Owner Of House
First N^e:           Fake OwnerOf House

Mobile:              +1 (231) 500-8026




                                                                   LEAD 1139-303
          Case3:54PM
  Nov. 2.2018  6:17-cr-06016-CJS-JWF     Document
                         Federal Publ ic Defender   64 Filed 11/20/18
                                                  - NYW            .  Page   6 of 8P. 7/9
                                                                       No. 0664

Fleitman. Seth (BF)(FBn

From;                              +15852105200@tmomaiLnet
Sent;                              Thursday, June 30,2016 5:55 AM
To:                                Fleitrnan, Seth (BF)(FBI)
Attachments:                       text O.bct




82Southism Pkwy Rochester




 T • -Mobile*'
 ll«s iiifC5'v%ViviiiSt;ni:oyc.» byft rM>bi^owifeless pfiono,




                                                                    LEAD 1139 - 304
          Case3:54PM
  Nov. 2.2018  6:17-cr-06016-CJS-JWF      Document
                        . Federal Publ ic Defender   64 Filed- 11/20/18 Page
                                                   - NYW                      7 of 8P. 8/9
                                                                        No. 0664

Fteitman. Scth (BF)(FBI)

From:                        +150S2lO52OO@lmomaiLnet
Sent:                       Thursday, June 30.20166:47 AM
To:                         Fleltman, Seth (BF)(FBI)
Atbichments;                text_0.txt




hello how are you doing sorry for thelate reply j was
very busy at work i will like you to know my home s
still available for rentand moving in ready how many
of you are moving into ray home and when is the
moving in date? I'm sorry, can youremind methe
location of yourhome and give mea datethatyou are
available so thaiwe could see your home? There is
four of us. my home is in Rochester We have been
looking at many homes. Is yours a therent to own
near the Uof R? Fenced backyard ? The bluelodt box
on the side door? 82 SoutheniPkwy Rochester that is
my home address how many of you. aremoving into
my home? I'm not hearing you how are you doing I
am line. Will drive by your house later today. Two
adults two children ages 5 and 10.months ok goodso
areyou currently in any leaseand whenare you
planing on moving in? How much is the rent and
when can we seeinside? the monthly rent is $1500
and the security deposit is $1000 you can drive by to
viewit when you love whatyousee then we can.niove
to the filling of Application form Ok Google 82
Southern Parkway Sueetview- It's an awesome house
Ok, I love it >Would like to fill out theapplication,
hello how are you doing i hope you love I so much i
will be sending you theapplication Ibrra soon but i
ynll need your mail address 23 Tubiiian way
Rochester ny 14608. Our names are Richard and
Perran. i will like to send it via email so it will be fast
for youto fill it Richwilbem@£mail.com ok mydear
in 1Omin 1will send it 1noticed a for sale sign. Is this
a rent to own? Or will there be a change of ownership
Once we move in? i havejust sent you a mail check it
now.ok and get back to me did you get my mail? Yes
looking at it now ok good hoping to read ftom you
soon Hello how are you doing today ? did you get my
mail? Yes I did. Very pleased to hear that good news,
My family is excited also over (liegood news, oh
praise be to God did yoiireply my mail? oh praise be
to God did you reply my mail? and bow is your family
doing todaymay the blessliig of the lord be with you


                                                                   LEAD 1139-305
           Case3:54PM
  Nov. 2. 2018  6:17-cr-06016-CJS-JWF     Document
                          Federal Publ ic Defender - 64
                                                     NYI Filed 11/20/18 Page   8 of 8P. 9/9
                                                                         No. 0664

and yaur fajnily Wailing lo shai^ itwith niy fiancA©
onceshe gets off work. It's a Surprise for her. Then we
both will respond to your email, ok dear when is she
getting off? cause in the next 2hour i will be busy at
ray office 1will respond now ok hoping to read fiom
you Remain Bless i got your mail now i will send the
iiifotmation that you.will use in sending thefirst
month and security deposit ok Remmn Bless Once you
send the money i will mail Out the keys aind house
document to your current home address then you can
suiprise your fiance once you receive it call meandi
will pray forthe both of you ok you there?? did you
get my mail? hello how areyou doing i have been
waiting to hear ffom you hope all iswell?




 T • -Mofalle''
 !liify iriitssritf/ri   'iuns ioywr byft T-Mdjll*:! WiflteS J»bt>fltk




                                                                         LEAD 1139-306
